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8                             UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                         Case No.: 95cr973 JM
12                                     Plaintiff,
                                                        ORDER DENYING DEFENDANT’S
13    v.                                                MOTION FOR SENTENCE
      ENRIQUE AVALOS-BARRIGA (5),                       REDUCTION PURSUANT TO 18
14
                                                        U.S.C. § 3582(c)(2)
15                                   Defendant.

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17         Defendant Enrique Avalos-Barriga moves, pro se, for a sentence reduction on the
18   basis of Amendment 782 to the United States Sentencing Guidelines (“the Guidelines” or
19   (“U.S.S.G.”). (Doc. Nos. 558, 570.)1 Amendment 782 revised the Drug Quantity Table
20   in Guidelines section 2D1.1 and reduced by two levels the offense level applicable to
21   many drug offenses.2 For the following reasons, the court denies Defendant’s motion.
22                                        DISCUSSION
23         In general, a criminal sentence is final upon completion of direct review, and the
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       Defendant also moves for an up-to-date status of his motion, (Doc. No. 561), which the
26   court now denies as moot.
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27     Amendment 788 made Amendment 782 retroactive to previously sentenced defendants,
     limiting the effective date to November 1, 2015. See U.S.S.G., supp. App’x. C, amend.
28   788 (2014); U.S.S.G. § 1B1.10.
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1    sentencing court thereafter lacks authority to revisit it. Dillon v. United States, 560 U.S.
2    817, 821 (2010); United States v. Leniear, 574 F.3d 668, 673 (9th Cir. 2009). However,
3    Congress created a limited exception to this rule in 18 U.S.C. § 3582(c), authorizing
4    district courts to modify a sentence “in the case of a defendant who has been sentenced to
5    a term of imprisonment based on a sentencing range that has subsequently been lowered
6    by the Sentencing Commission.” United States v. Dunn, 728 F.3d 1151, 1155 (9th Cir.
7    2013). In such circumstances, a two-step analysis applies. Dillon, 560 U.S. at 827. First,
8    the court must determine “the amended guideline range that would have been applicable
9    to the defendant if the relevant amendment had been in effect at the time of the initial
10   sentencing.” Id. If the defendant is eligible for a sentence modification, the court must
11   next consider any applicable factors under 18 U.S.C. § 3553 to determine whether a
12   modification is warranted. Id. But the court must “leave all other guideline application
13   decisions unaffected” and ensure that reductions are “consistent with applicable policy
14   statements issued by the Sentencing Commission.” See generally U.S.S.G. § 1B1.10.
15         Here, after a jury trial, Defendant was found guilty of engaging in a continuing
16   criminal enterprise in violation of 21 U.S.C. § 848(b). At his sentencing, the court
17   determined that Defendant was responsible for eight tons of cocaine, which was a level
18   38 offense. (See Doc. No. 198.) In addition, the court adjusted upward four levels for
19   Defendant’s role in the offense and calculated a total offense level of 42. Under the
20   amended Guidelines, responsibility for eight tons of cocaine remains a level 38 offense.
21   Consequently, Amendment 782 did not lower Defendant’s applicable Guidelines range,
22   and Defendant is not eligible for a sentence reduction.
23                                         CONCLUSION
24         For the foregoing reasons, the court denies Defendant’s motions.
25         IT IS SO ORDERED.
26   DATED: October 21, 2016
                                                   JEFFREY T. MILLER
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                                                   United States District Judge
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